     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 1 of 26   Pg ID 5996




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

AMERICAN FURUKAWA, INC.,                            Case No. 14-13633

             Plaintiff,                             Stephanie Dawkins Davis
v.                                                  United States Magistrate Judge

ISTHIHAR HOSSAIN and
HT WIRE & CABLE AMERICAS, LLC,

          Defendants.
_____________________________________/

            FINDINGS OF FACT AND CONCLUSIONS OF LAW

I.    INTRODUCTION

      American Furukawa, Inc., a distributor of automotive and electrical

components, including power cables and wires, filed this suit against defendant

Isthihar Hossain, a former employee, alleging violation of the Computer Fraud and

Abuse Act – 18 U.S.C. § 1030, fraud, breach of contract, breach of fiduciary duty,

misappropriation of trade secrets, conversion, tortious interference with a business

relationship and expectancies and civil conspiracy. (Dkt. 65). With the exception

of fraud, breach of contract and breach of fiduciary duty, plaintiff asserts the same

claims against defendant HT Wire & Cable Americas, LLC (HT), the American

affiliate of defendant Hossain’s new employer, Hebei Huatong Electric and Cable

Group, Ltd. (“Huatong”). (Dkt. 65).


                                          1
      4:14-cv-13633-SDD    Doc # 191    Filed 09/29/17   Pg 2 of 26   Pg ID 5997




II.   PROCEDURAL HISTORY

      Plaintiff, American Furukawa, Inc. (Furukawa) filed its complaint on

September 19, 2014. (Dkt. 1). At the inception of this action, plaintiff obtained a

temporary restraining order (TRO) requiring Hossain to refrain from using,

accessing, altering, destroying, disclosing, copying, duplicating, transferring,

divulging or otherwise disseminating any of plaintiff’s information that had been

electronically stored on any device or account controlled by defendant, and to

return all of any such information to the plaintiff. (Dkt. 4, 7). By way of

stipulated order on October 16, 2014, the parties agreed to extend the terms of the

TRO until further order of the court, and established terms for a forensic

examination of defendant’s devices and accounts by plaintiff’s expert. (Dkt. 18).

      The Court granted Furukawa leave to amend its complaint to add defendant

HT Wire, the American affiliate of Huatong that was formed by Huatong (a

Chinese corporation doing business in the United States) and defendant Hossain,

and to add claims for tortious interference with business relationships and civil

conspiracy. (Dkt. 65). The court denied the defendants’ motion to dismiss for

arbitration, finding that the defendants had waived any right to arbitration that may

have existed. (Dkt. 97). On the parties’ cross motions for summary judgment, the

court denied plaintiff’s motion, finding questions of fact remained as to plaintiff’s

claims. The court denied in part and granted in part the defendants’ motion,

                                          2
       4:14-cv-13633-SDD    Doc # 191    Filed 09/29/17   Pg 3 of 26   Pg ID 5998




dismissing only the plaintiff’s claim for conversion because it was preempted by

the Michigan Uniform Trade Secret Act (MUTSA). (Dkt. 138).

       Shortly after the court ruled on the parties’ motions for summary judgment,

the parties stipulated to a trial before the bench, and later consented to the referral

of the case to the undersigned for all proceedings, including the bench trial. (Dkt.

144, 164). The Court held a five day bench trial which was completed on

December 22, 2016. The Court’s ruling follows.

III.   FACTUAL FINDINGS

       Plaintiff American Furukawa, Inc. (alternately “AF” or “The Company”) is

the American subsidiary of the Japanese corporation Furukawa Electric Company

(“FEC”). (Dkt. 184, Pg ID 4758). AF is the distributor of automotive and

electrical components including power cables and wires. (Pl. Ex. 2; Dkt. 184, Pg

ID 4762-64). The Company operates three divisions known as the Automotive

Parts Division (“APD”), the Wire Harness Division (“WHD”) and the Electronic

Specialties Division (“ESD”). (Pl. Ex.1, Dkt. 184, Pg ID 4761-62). The dispute in

this case involved the ESD division.

       Huatong supplied power cables to AF’s ESD division, which the Company,

in turn sold to its U.S. customers. (Pl. Ex. 3; Dkt. 184, Pg ID 4785-86, 4788-89).

Huatong supplied insulated wire products and overhead wire products under a

Sales and Purchase Agreement with AF dated March 12, 2012. (Pl. Ex. 3). That

                                           3
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 4 of 26   Pg ID 5999




agreement expired on March 7, 2013, but was automatically renewed for

successive one year periods unless either party notified the other at least three

months before the expiration of the initial or any extended term. (Id.). Aside from

its arrangement with plaintiff, Huatong did not otherwise have a sales or customer

network for its products in the U.S. market. (Dkt. 184, Pg ID 4784-85).

      During his employment with AF defendant Hossain worked variously as a

Power Systems Electrical Engineer, Product Manager and Senior Product Manager

until he resigned in April 2014. (Dkt. 184, Pg ID 4765, 4767-70). At the time he

resigned, Hossain was a Senior Product Manager responsible for taking orders,

building customer and supplier relationships, managing customer accounts,

monitoring customer developments, coordinating with factories, processing

customer orders and preparing customer quotes. (Id.). In performing his duties at

AF, Hossain had access to the company’s confidential information, including

business plans, financial and pricing information [factory costs, shipping costs,

margins, pricing formulas], marketing plans, customer targets, logistics [efficient

and cost-effective methods for expediently and safely delivering the product from

factory to customer], and manufacturing capacity. (Dkt. 184, Pg ID 4771-73,

4821-22; Dkt. 188, Pg ID 5791-93).

      In February 2014, while traveling in China on AF business, Hossain met

with a Huatong representative, without anyone else from AF, FEC or any of its

                                          4
     4:14-cv-13633-SDD     Doc # 191   Filed 09/29/17   Pg 5 of 26   Pg ID 6000




affiliates (e.g. Furukawa Electric Industrial Cable and Shenyang Furukawa) being

present, in direct contravention of instructions from AF. (Pl. Ex. 12; Dkt. 186, Pg

ID 5335-41). Hossain also attempted to meet with Huatong’s general manager.

(Pl. Ex. 11). Hossain was unsuccessful in arranging a face-to-face meeting with

Huatong’s general manager, but he did speak to him after he returned to the U.S.

from China. (Id.; Dkt. 186, Pg ID 5342). The next month, in early March 2014,

Hossain entered into employment negotiations with Huatong. (Pl. Ex. 14; Dkt.

184, Pg ID 4802). The parties completed negotiations and Hossain executed an

employment agreement with Huatong on March 10, 2014. (Pl. Ex. 15). The

agreement called for Hossain to begin employment with Huatong as the CEO of

the soon to be formed U.S. affiliate of Huatong on March 17, 2014. (Id.). Hossain

was to receive an annual salary of $156,000 and a signing bonus of $78,000. (Id.).

Shortly thereafter, HT was established as a Michigan limited liability company

with Huatong and Hossain as its members. (Pl. Ex. 24).

      On the day he was scheduled to begin working as HT’s CEO, Hossain

reported to AF that he was unable to report to work because he had torn his

Achilles tendon. (Pl. Ex. 14 - “Employment Agreement” and Pl. Ex. 17; Dkt. 186,

Pg ID 5080-81). As a result, AF placed Hossain on a leave of absence, during

which time he collected short-term disability benefits from AF’s insurer. (Pl. Ex.

12; Dkt. 186, Pg ID 5082). In compliance with rules related to short-term

                                         5
     4:14-cv-13633-SDD     Doc # 191   Filed 09/29/17   Pg 6 of 26   Pg ID 6001




disability benefits, AF instructed Hossain not to perform any work during his

leave of absence. (Pl. Ex. 18, 19; Dkt. 186, Pg ID 5082-85; Dkt. 188, Pg ID

5815). In spite of AF’s instruction, Hossain accessed, copied and downloaded

several e-mail messages from his AF (work) account to his personal e-mail

address. (Pl. Ex. 20). The e-mail transfer included customer evaluation notes,

prospective sales information and customer contact information. (Pl. Exs. 20, 21).

While still employed by AF, Hossain also forwarded information regarding AF’s

logistics and sales leads to his Huatong contact in China. (Pl. Exs. 22, 25). Also

while still employed by AF, Hossain accessed and copied a list of sales leads

developed by plaintiff from a trade show. (Pl. Exs. 58, 71A). This list included

information about people who had expressed an interest in buying from AF,

including the degree to which the person(s) identified could influence their

respective company’s buying decisions. (Pl. Ex. 71A, Ln.16).

      On March 20, 2014, Huatong notified plaintiff that it would stop supplying

plaintiff with power cables, effective immediately. (Dkt. 184, Pg ID 4827; Dkt.

187, Pg ID 5366-67). This abrupt cessation had an immediate and direct impact

on AF’s sales because AF did not have an alternate supplier for many of the

products Huatong was supplying. (Dkt. 184, Pg ID 4827-28, 4830-31; Dkt. 185,

Pg ID 5050-52; Dkt. 187, Pg ID 5377-81). The products impacted by Huatong’s



                                         6
      4:14-cv-13633-SDD        Doc # 191     Filed 09/29/17    Pg 7 of 26    Pg ID 6002




decision included those for a prospective customer, Kingwire1, which had

committed to buying three types of cable from AF, as well as those sold to existing

customers of AF such as WTEC. (Dkt. 187, Pg ID 5377-82).

       While on leave and collecting disability benefits, but still employed by AF,

Hossain started performing his duties under his employment agreement with

Huatong. The duties performed during this period included hiring a consultant to

assist in entity formation, searching for office space, and forming a website for the

entity that would become HT. (Pl. Ex. 24).

       Also during his leave of absence, Hossain affirmed his plan to resume his

duties with AF once he recovered from his injury, but asked to be relieved of his

travel obligations. (Dkt. 186, Pg ID 5085-86). AF accommodated Hossain’s

request, replacing his travel obligations with other responsibilities and making no

change to his title or salary. (Pl. Ex. 10). Hossain returned to active duty for AF

on April 25, 2014 (Pl. Ex. 29; Dkt. 186, Pg ID 5088-92), but after working for

several hours on Monday, April 28, he announced he was resigning effective that

Friday, May 2, 2014. (Pl. Ex. 30, 31, Dkt. 186, Pg ID 5094-97). AF agreed to

pay Hossain through May 2, 2014, but requested that he gather his belongings and

leave the workplace on Tuesday, April 29th. (Pl. Exs. 32, 34; Dkt. 186, Pg ID


       1
          By March 2014, plaintiff had spent nearly two years soliciting Kingwire’s power cable
business, during which it incurred sales costs of $150,000. (Dkt. 187, Pg ID 5371-75).

                                               7
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 8 of 26   Pg ID 6003




5097-5104). Hossain protested, claiming he needed more time. (Id.). At his exit

interview, Hossain refused to sign an Employment Certification & Agreement on

Termination certifying that he had returned all property belonging to AF and had

complied with and would continue to abide by the Invention Assignment and

Secrecy Agreement. (Pl. Ex. 37; Dkt. 186, Pg ID 5100). After the exit interview,

Hossain returned to his desk, initially ignoring the instruction to pack his

belongings and exit the building within thirty minutes, but ultimately packed and

left later the afternoon of April 29th, following a tense confrontation with AF’s

management. (Pl. Ex. 34; Dkt. 186, Pg ID 5102-03).

      Within weeks of Hossain’s departure, AF learned from an errant e-mail that

Hossain was using a pricing template and formulas, which it had developed, to

solicit business from one of its customers, WTEC. (Pl. Exs. 42, 81; Dkt. 184, Pg

ID 4835-36; Dkt. 187, Pg ID 5392-93). AF lost much of WTEC’s business when

Huatong stopped supplying the type of cable that plaintiff sold to WTEC. (Dkt.

188, Pg ID 5665-67). Hossain was soliciting WTEC to buy the same Huatong

cable it had been buying from plaintiff from HT. (Pl. Ex. 42; Dkt. 184, Pg ID

4835-36; Dkt. 187, Pg ID 5392-93).

      AF conducted a forensic investigation of the two laptop computers Hossain

used during his employment with plaintiff. (Dkt. 184, Pg ID 4799, 4853-54; Dkt.

186, Pg ID 5182-83). The investigation revealed that Hossain had copied

                                          8
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 9 of 26   Pg ID 6004




information, including 27,000 emails and thousands of business-related

attachments, to several external storage devices. (Dkt. 186, Pg ID 5186-87, 5201-

10). This revelation prompted the filing of this suit as well as the requested TRO

to which the parties later stipulated. (Dkt. 1-4, 18). The court-ordered inspection

of plaintiff’s personal computer and external storage devices further revealed that

Hossain had not only copied these files, but had also organized the copied files

into folders and subfolders according to their content. (Pl. Exs. 56, 57; Dkt. 187,

Pg ID 5216-21, 5234, 5268-70). Moreover, the forensic examination showed that

Hossain accessed plaintiff’s information several times after he resigned from his

employment with plaintiff. (Pl. Exs. 57, 58, Dkt. 186, Pg ID 5239-49, 5268-70).

The forensic examination also revealed that “jump list files” had been deleted and

removed from the computer. (Dkt. 186, Pg ID 5250-52). The forensic expert

conducting the investigation testified that this finding was significant for two

reasons: (1) because jump list files cannot be deleted inadvertently – deletion

requires user intervention; and (2) because the deletion of such lists permits the

transfer of files and information without detection. (Id.; Dkt. 186, Pg ID 5264-66,

5307-10). The forensic expert also testified that his investigation revealed that

Hossain had transferred files to external devices that he did not produce. (Pl. Ex.

57; Dkt. 186, Pg ID 5256-63).

      From the forensic investigation AF also learned that, in May 2014, after

                                          9
     4:14-cv-13633-SDD    Doc # 191    Filed 09/29/17   Pg 10 of 26   Pg ID 6005




resigning from the company, Hossain shared meeting minutes prepared by AF’s

vice president, Shuichi Takagi, in June 2013 with Huatong. (Pl. Ex. 43; Dkt. 187,

Pg ID 5476-77; Dkt. 188, Pg ID 5631-32). The investigation also showed that in

August 2014, just three days before preparing HT’s business plan, Hossain

accessed the 2014 ESD sales budget plan, the ESD actual profit and loss

statement, balance sheet and cash flow statement for 2013, the ESD 5 year plan

summary and the midrange plan summary. (Pl. Ex. 58; Dkt. 187, Pg ID 5477-78).

The ESD budget plan included sales projections, salary information, expense

details, costs of goods and cash flow information. (Pl. Ex. 71A, Ln. 9; Dkt. 187,

Pg ID 5425-26). The HT business plan contains sales projections for Kingwire

identical to those prepared for AF by Hossain’s former colleague. (Pl. Ex. 47;

Dkt. 187, Pg ID 5463, 5482-84). The HT business plan reflects a commitment

from Kingwire to a monthly purchase of $500,000 of the same cables it had

previously committed to purchase from AF. (Pl. Ex. 47; Dkt. 185, Pg ID 5054;

Dkt. 187, Pg ID 5484). The HT business plan also indicates that HT had received

purchase orders from WTEC totaling $2,000,000, less than four months after it

started operating. (Pl. Ex. 47,135).

      The forensic audit revealed that the information downloaded by Hossain

included business plans and financial information, marketing information, pricing

information, customer email, quotation materials and engineering materials. (Pl.

                                         10
      4:14-cv-13633-SDD   Doc # 191    Filed 09/29/17   Pg 11 of 26    Pg ID 6006




Ex. 72; Dkt. 187, Pg ID 5414-24). Certain files also contained forwarder

information, shipper quotation information, customer lead information, competitor

price list information, customer contact information and pricing information. (Pl.

Ex. 71A, Ln. 11, 16, 21, 22, 24; Dkt. 187, Pg ID 5430-5447).

IV.    ANALYSIS

       A.    Liability

             1.    Computer Fraud and Abuse Act (CFAA), 18 U.S.C. § 1030

       To prevail on a claim under the CFAA, AF must prove that Hossain (1)

intentionally accessed a computer, (2) without authorization or exceeding

authorized access, and that he (3) thereby obtained information (4) from any

protected computer (if the conduct involved an interstate or foreign

communication), and that (5) there was loss to one or more persons during any

one-year period aggregating at least $5,000 in value. As the Court has previously

noted, the Sixth Circuit has found that investigations into an offense and the

performance of a damage assessment constitute a “loss” as defined by the CFAA.

(Dkt. 138) (citing Yoder & Frey Auctioneers, Inc. v. EquipmentFacts, LLC, 774

F.3d 1065, 1074 (6th Cir. 2014)). The Court denied plaintiff’s motion for

summary judgment on the CFAA claim only because plaintiff had not provided the

Court with documents evidencing its forensic investigation expenses at that time, a



                                         11
     4:14-cv-13633-SDD         Doc # 191     Filed 09/29/17     Pg 12 of 26    Pg ID 6007




necessary element of a CFAA claim.2 (Dkt. 138). At trial, in addition to

producing evidence sufficient to satisfy elements 1 through 4 above, plaintiff

produced evidence of investigative costs or damage assessment of $23,059.20,

which was not challenged by defendants. (Pl. Ex. 64). Thus, defendants are liable

for the same.

               2.     Misappropriation of Trade Secrets

       To succeed on a claim for misappropriation of a trade secret under Michigan

law, a plaintiff must prove: 1) the existence of a trade secret; 2) its acquisition in

confidence; and 3) the defendant’s unauthorized use of it. Nedschroef Detroit

Corp. v. Bemas Enterprises LLC, 106 F.Supp.3d 874, 884-85 (E.D. Mich. 2015),

aff’d, 646 Fed. Appx. 418 (6th Cir. 2016). The Michigan Uniform Trade Secrets

Act (“MUTSA”) defines a “trade secret” as information, including a formula,

pattern, compilation, program, device, method, technique, or process, that both: (i)

Derives independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable by proper means by, other persons

who can obtain economic value from its disclosure or use; and (ii) Is the subject of

efforts that are reasonable under the circumstances to maintain its secrecy. Id.



       2
         Even if these elements were not established at summary judgment, AF produced
persuasive evidence at trial that Hossain intentionally accessed a computer, without and in excess
of authority, to obtain information resulting in a loss over $5,000. (Dkt. 184, Pg ID 4800) (Pl.
Exs. 18-21, 54, 56-58, 64, 91-92).

                                               12
     4:14-cv-13633-SDD    Doc # 191    Filed 09/29/17   Pg 13 of 26     Pg ID 6008




(citing Mich. Comp. Laws § 445.1902(d)). Under MUTSA, “misappropriation”

means one of the following:

             (i) Acquisition of a trade secret of another by a person
             who knows or has reason to know that the trade secret
             was acquired by improper means;

             (ii) Disclosure or use of a trade secret of another without
             express or implied consent by a person who did 1 or
             more of the following:

                   (A) Used improper means to acquire
                   knowledge of the trade secret;

                   (B) At the time of disclosure or use, knew or
                   had reason to know that his or her
                   knowledge of the trade secret was derived
                   from or through a person who had utilized
                   improper means to acquire it, acquired
                   under circumstances giving rise to a duty to
                   maintain its secrecy or limit its use, or
                   derived from or through a person who owed
                   a duty to the person to maintain its secrecy
                   or limit its use.

                   (C) Before a material change of his or her
                   position, knew or had reason to know that it
                   was a trade secret and that knowledge of it
                   had been acquired by accident or mistake.

Id. (citing Mich. Comp. Laws § 445.1902(b)). The statute defines the term

“improper means” to include “breach ... of a duty to maintain secrecy....” Id.

(citing Mich. Comp. Laws § 445.1902(a)).

      A trade secret may consist of a compilation of information, even if it is


                                         13
     4:14-cv-13633-SDD      Doc # 191   Filed 09/29/17   Pg 14 of 26   Pg ID 6009




compiled from outside sources available to other persons. Mike’s Train House,

Inc. v. Lionel LLC, 472 F.3d 398, 411 (6th Cir. 2006) (“A trade secret can exist in

a combination of...components, each of which, by itself, is in the public domain,

but the unified process, design and operation of which, in unique combination,

affords a competitive advantage and is a protectable secret”). Knowledge of

vendors, vendor capabilities, and pricing can be a trade secret so long as the

information is not readily attainable. Giasson Aerospace Science, Inc. v. RCO

Engineering, Inc., 680 F.Supp.2d 830, 843 (E.D. Mich. 2010).

      The Court finds that much of the content of the files Hossain downloaded as

he prepared to leave plaintiff and form HT is protectable trade secret under

MUTSA. This includes AF’s business plans, sales projections, financial

information, cost information, market information, customer information,

quotation materials, pricing information and engineering data. (Pl. Exs. 20, 21,

42, 43, 58, 71A, 72, 81; Dkt. 184, Pg ID 4835-36; Dkt. 187, Pg ID 5392-93, 5414-

5463, 5476-78). The Court finds ample evidence of Hossain’s disclosure of these

trade secrets and defendants’ joint use of them. (Pl. Exs. 22, 39, 43, 47, 58, 71A;

Dkt. 184, Pg ID 4825-27; Dkt. 187, Pg ID 5474-78, 5481-83). The Court is

persuaded that defendants’ unauthorized use of plaintiff’s trade secrets damaged

plaintiff. (Pl. Exs. 66, 67, 95).



                                          14
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 15 of 26   Pg ID 6010




             3.     Remaining Tort Claims

      MUTSA provides a statutory action and remedies for misappropriation of

trade secrets. Bliss Clearing Niagara, Inc. v. Midwest Brake Bond Co., 270 F.

Supp. 2d 943, 945-46 (W.D. Mich. 2003); Mich. Comp. Laws §§ 445.1903, 1904.

The statute also displaces conflicting tort remedies for misappropriation of a trade

secret. Id. (citing CMI Int’l, Inc. v. Intermet Int’l Corp., 251 Mich.App. 125, 132

(2002)). However, MUTSA does not displace contractual remedies, “[o]ther civil

remedies that are not based upon misappropriation of a trade secret,” or

“[c]riminal remedies, whether or not based upon misappropriation of a trade

secret.” Id. (citing Mich. Comp. Laws § 445.1908(2)).

                    a.     Fraud

      To prevail on a claim for fraud, a plaintiff must demonstrate that (1) the

defendant made a material misrepresentation; (2) the representation was false; (3)

when the representation was made the defendant knew it was false or made it

recklessly, without knowledge of its truth and as a positive assertion; (4) the

defendant made the representation with the intent that plaintiff would act on it; (5)

the plaintiff acted in reliance on it; and (6) the plaintiff suffered damages or injury.

M&D, Inc. v. W.M. McConkey, 231 Mich. App. 22, 27 (1998).

      The Court’s ruling on Plaintiff’s Motion for Summary Judgment (Dkt. 138,

Pg ID 3522-3523) identified three potential affirmative misrepresentations by

                                          15
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 16 of 26   Pg ID 6011




Hossain: That he misrepresented his relationship with Huatong, and his activities

on behalf of Huatong when he told AF (1) he was unable to work due to a

basketball injury in March 2014; (2) he did not have another job lined up; and (3)

he had returned all of AF’s property and fully complied with the Secrecy

Agreement. The court ruled that plaintiff could not have relied on the last two

representations (that Hossain did not have another job, and that he had returned all

of plaintiff’s property and complied with the Secrecy Agreement) in continuing

employment, salary and benefits and allowing him to have access to confidential

information and customers because those representations were made after Hossain

resigned from plaintiff’s employment. (Dkt. 138, Pg ID 3523).

      At trial AF asserted that it also relied on these misrepresentations in failing

to take additional steps to protect itself, but the Court finds that Hossain’s refusal

to sign the Employee Certification & Agreement on Termination precluded any

reliance on a representation that he had returned all property and would continue

to comply with the Secrecy Agreement. (Pl. Ex. 37; Dkt. 186, Pg ID 5100).

Additionally, according to evidence adduced at trial, plaintiff learned that Hossain

was working for competitor Huatong approximately three weeks after he resigned.

(Pl. Ex. 42, 81; Dkt. 184, Pg ID 4835-36; Dkt. 187, Pg ID 5392-93). Plaintiff

offers no evidence of loss or damage derived specifically from this three week

period. Accordingly, plaintiff has not demonstrated that it suffered any damage as

                                          16
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 17 of 26   Pg ID 6012




a result of plaintiff’s misrepresentation regarding his employment.

      Another alleged affirmative misrepresentation relates to Hossain’s claim

that he could not report to work for plaintiff in mid March-due to an ankle injury.

The Court finds that plaintiff did not meet its burden of proof that this

representation by Hossain was, indeed, false. (Dkt. 188, Pg ID 5765; Def. Ex. M).

      Finally, plaintiff introduced evidence at trial that during his leave of absence

in March 2014, Hossain represented to plaintiff that he intended to return to work

when he recovered from his injury. (Dkt. 186, Pg ID 5085-5087). Based on the

employment agreement Hossain entered into with Huatong (Pl. Ex. 15), and

Hossain’s actions during his leave of absence, this representation was clearly false.

Plaintiff relied on this representation in continuing to employ Hossain and

suffered damages in the amount of wages and benefits it continued to pay Hossain

after this misrepresentation.

      Plaintiff also asserts that it is entitled to recover damages for silent fraud,

specifically Hossain’s failure to disclose his entry into an employment agreement

with Huatong, his downloading of plaintiff’s information to his personal email

account, computer and computer storage devices and his endeavors toward starting

a competing business while still employed with plaintiff.

      Although plaintiff correctly points out that a duty to disclose may arise from

a fiduciary relationship, an employee is specifically permitted to take steps to

                                          17
     4:14-cv-13633-SDD     Doc # 191      Filed 09/29/17   Pg 18 of 26   Pg ID 6013




establish a competing business while still employed without breaching his duty of

loyalty. In re RnD Engr., LLC, 546 B.R. 738, 771 (Bankr. E.D. Mich. 2016)

(citing Nedschroef Detroit Corp., 106 F.Supp.3d at 883). If the fiduciary

relationship between employer and employee does not preclude actions by an

employee to form a competing business, it follows that it also could not establish a

legal or equitable duty for the employee to disclose those same actions to the

employer. See Hord v. Envtl. Research Inst. of Michigan, 463 Mich. 399 (2000)

(“Turning to the question of silent fraud, we agree... that mere nondisclosure is

insufficient. There must be circumstances that establish a legal duty to make a

disclosure.”); Barclae v. Zarb, 300 Mich. App. 455 (2013) (“Silent fraud...is based

on a defendant suppressing a material fact that he or she was legally obligated to

disclose.... Such a duty may arise by law or by equity[.]”); see also 37 Am. Jur. 2d,

Fraud and Deceit § 201(it is not every relationship to which the term “fiduciary”

or “confidential” might conceivably be applied with some degree of

reasonableness or plausibility that will authorize, by its existence alone, a

presumption of fraud by concealment). Any silent fraud claim predicated on

Hossain’s downloading plaintiff’s information is pre-empted under MUTSA. See

Bliss Clearing Niagra, 270 F.Supp.2d at 946. Hence, plaintiff has not established

a right to any remedy for silent fraud.

                    b.    Breach of Fiduciary Duty

                                            18
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 19 of 26   Pg ID 6014




      In general, employees owe a duty of loyalty to their employers. Nedschroef

Detroit Corp., 106 F.Supp.3d at 883. “‘Although the parameters of this duty are

not well-defined, some general rules exist. For example, an employee may take

steps to establish a competing business while still employed without breaching the

duty of loyalty, but the employee may not actually commence competition.’” In

re RnD Engr., LLC, 546 B.R. at 771 (quoting Nedschroef Detroit Corp., 106

F.Supp.3d at 883). An employee’s plans and preparations “to engage in a

competing business during the scope of their agency relationship with the plaintiff

... do not by themselves state a claim for a breach of the duty of loyalty.” Id.

(quoting Mike Vaughn Custom Sports, Inc. v. Piku, 15 F.Supp.3d 735, 752 (E.D.

Mich. 2014).

      Plaintiff’s claim that Hossain violated his duty of loyalty by entering into

the employment agreement with Huatong (to start a competing U.S. Huatong

affiliate) is not viable. Nevertheless, this Court is persuaded by evidence at trial

that Hossain went beyond the planning and preparation stages while he was still

employed by plaintiff. For example, Hossain shared the contact information for

AF’s U.S. “forwarder” with Huatong, identified AF’s current and prospective

customers as potential Huatong customers and provided this information to

Huatong while still employed by AF. (Pl. Ex. 22) (Dkt. Pg ID 4825-4827). This

conduct violated Hossain’s duty of loyalty to plaintiff, and may be remedied by the

                                          19
     4:14-cv-13633-SDD     Doc # 191    Filed 09/29/17   Pg 20 of 26   Pg ID 6015




forfeiture of the compensation plaintiff paid to or for the benefit of Hossain from

March to May 2014. See Nedschroef Detroit Corp., 106 F.Supp.3d at 890.

                    c.    Tortious Interference

      The elements of a claim for tortious interference with a contract are: (1) the

existence of a contract; (2) a breach of the contract; and (3) an unjustified

instigation of the breach by the defendant. Badiee v. Brighton Area Schools, 265

Mich. App. 343, 366-67 (2005). An at-will contract can be improperly interfered

with, but the contract’s at-will nature makes the matter more analogous to

interference with a business expectancy. Health Call of Detroit v. Atrium Home &

Health Care Serv. Inc., 268 Mich App. 83, 92 (2005).

      The elements of tortious interference with a business expectancy are: “‘the

existence of a valid business relationship or expectancy, knowledge of the

relationship or expectancy on the part of the defendant, an intentional improper

interference by the defendant inducing or causing a termination of the relationship

or expectancy, and resultant damage to the plaintiff.’” Nedschroef Detroit Corp.,

106 F.Supp.3d at 889 (quoting Cedroni Associates, Inc. v. Tomblinson, Harburn

Assoc., Architects & Planners, Inc., 492 Mich. 40 (2012)).

      Proof that the interference was “improper” can be shown by proving either

(1) the intentional doing of an act wrongful per se, or (2) the intentional doing of a

lawful act with malice and unjustified in law for the purpose of invading the

                                          20
     4:14-cv-13633-SDD        Doc # 191      Filed 09/29/17    Pg 21 of 26     Pg ID 6016




plaintiff's contractual rights or business relationship. Id. (citing Advocacy Org. for

Patients & Providers v. Auto Club Ins. Ass’n, 257 Mich. App. 365 (2003)). Acts

of concealment are indicia of “improper motive.” RnD Engineering, LLC, 546

B.R. at 769.

       Courts consider the likelihood or probability that the expectant relationship

would have developed as desired absent tortious interference with the expectancy.

Cedroni Assoc. v. Tomblinson Harburn Assoc., 290 Mich. App. 577, 590 (2010),

rev’d on other grounds, 492 Mich. 40 (2012). Optimism or mere hope is not

enough to find a valid business expectancy, but plaintiff is not required to prove

that the expectancy equated to a certainty or guarantee. Id.

       The Court finds that plaintiff’s sale and purchase agreement with Huatong

was a valid contract, which was not terminable before March 7, 2015.3 Huatong’s

decision to halt supply of power cables it supplied under the agreement on or

about March 20, 2014 amounted to a breach of the sales and purchase agreement.

The Court is persuaded that Hossain’s conduct in February and March 2014,

culminating in the formation of and his employment with HT induced Huatong’s

breach of its agreement with plaintiff. But for the activities of Hossain and HT,

plaintiff would have continued to be Huatong’s exclusive dealer in the United

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          Plaintiff’s 2012 sales and purchase agreement with Huatong could be cancelled each
anniversary (March 7th) provided the cancelling party gave the other party three months notice.
(Pl. Ex. 3).

                                               21
     4:14-cv-13633-SDD    Doc # 191    Filed 09/29/17   Pg 22 of 26   Pg ID 6017




States until at least March 2015. The disruption of the contract with Huatong

resulted in AF’s inability to supply its existing customer, WTEC and its well-

cultivated prospective customer, Kingwire. (Dkt. 187, Pg ID 5377-82; Dkt. 188,

Pg ID 5665-67).

      Additionally, Hossain’s misappropriation of plaintiff’s confidential

information, combined with HT’s beneficial use of that information amounts to an

improper interference with plaintiff’s business relationships with WTEC and

Kingwire. WTEC immediately began purchasing the Huatong cable it had been

buying from AF, from HT. (Pl. Ex. 67, 95; Dkt. 188, Pg ID 5665-67). Based on

these findings, AF is entitled to lost profit damages from defendants’ WTEC sales.

      The Court finds that AF’s impending purchase order from Kingwire was a

valid business expectancy and defendants’ interference with that expectancy

constitutes tortious interference warranting remedy. Nevertheless, measuring

AF’s damages from the loss of the Kingwire sales is more difficult because HT did

not consummate a sale to Kingwire until after March 2015, when AF may well

have lost Huatong as a supplier legitimately. (Pl. Ex. 67, 95). Profit on the $3

million of sales that AF projected (and HT directly adopted) for 2014 is too

speculative to award as damages. (Pl. Ex. 47; Dkt. 185, Pg ID 5054; Dkt. 187, Pg

ID 5463, 5482-84). Notwithstanding the speculative nature of the profits on the

$3 million in sales, AF was damaged and defendants were unjustly enriched by the

                                         22
     4:14-cv-13633-SDD         Doc # 191     Filed 09/29/17     Pg 23 of 26    Pg ID 6018




unrecovered sales costs of AF’s dedicated solicitation of Kingwire. Thus, those

costs are an appropriate remedy for plaintiff here.

                      d.      Civil Conspiracy

       Proof of a civil conspiracy in violation of Michigan law requires proof of

(1) a concerted action (2) by a combination of two or more persons (3) to

accomplish an unlawful purpose (4) or a lawful purpose by unlawful means.

Nedschroef Detroit Corp., 106 F.Supp.3d at 890 (citing Petroleum Enhancer, LLC

v. Woodward, 558 Fed. Appx. 569, 580 (6th Cir. 2014)). “Under Michigan law, ‘a

claim for civil conspiracy may not exist in the air; rather, it is necessary to prove a

separate actionable tort.’” Id. (quoting Early Detection Ctr., P.C. v. N.Y. Life Ins.

Co., 157 Mich. App. 618 (1986)). Hossain and HT clearly worked together, and,

as established earlier, breach of fiduciary duty, misappropriation of trade secrets

and tortious interference with a business expectancy supply the underlying

predicate necessary to find a civil conspiracy existed.

                              e.     Conversion

       The Court previously dismissed AF’s conversion claim finding it was pre-

empted by MUTSA because AF acknowledged that all information taken

constituted trade secrets. (Dkt. 138, 160).4 Thus, this claim is not considered.

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         Under the doctrine of the law of the case, “when a court decides upon a rule of law, that
decision should continue to govern the same issues in subsequent stages in the same case.”
Arizona v. California, 460 U.S. 605, 618 (1983). “Accordingly, the doctrine ‘does not apply if

                                               23
      4:14-cv-13633-SDD        Doc # 191     Filed 09/29/17     Pg 24 of 26     Pg ID 6019




               4.      Breach of Contract

       This Court previously ruled that the Secrecy Agreement was a binding

document and that Hossain’s conduct was in direct violation of the terms of that

agreement. The Court withheld awarding AF summary judgment only for

absence of proof that it was damaged by Hossain’s violation. (Dkt. 138). As

discussed in other sections of these Findings of Fact and Conclusions of Law,

plaintiff has established damages in the form of lost profits from sales lost to HT

as well as unrecovered sales costs for Kingwire, from which HT reaped the

benefits. Accordingly, the Court finds that Hossain breached the Secrecy

Agreement with plaintiff.

       B.      Damages

       This Court awards plaintiff $360,809.50 from the defendants in lost profit

damages. This amount represents HT’s gross profits for 2014 and the first quarter

of 2015. (Pl. Ex. 95). Plaintiff’s 2012 Sales and Purchase agreement with



the court is “convinced that [its prior decision] is clearly erroneous and would work a manifest
injustice.”’” Pepper v. United States, 562 U.S. 476, 506–07 (2011) (quoting Agostini v. Felton,
521 U.S. 203, 236 (1997)). Application of the doctrine is discretionary, and courts should be
reluctant, absent good cause, to revisit prior rulings. Doctor's Assocs., Inc. v. Distajo, 107 F.3d
126, 131 (2d Cir. 1997), cert denied 522 U.S. 948 (1997) (citation omitted). In the view of the
undersigned, it is appropriate to invoke the doctrine in this matter. Further, there is a split of
authority on whether a magistrate judge, even on consent of the parties, has the authority to
reconsider a prior ruling of the district judge in the same case. Compare Tischmann v.
ITT/Sheraton Corp., 145 F.3d 561, 564–65 (2d Cir. 1998) and Taylor v. Nat’l Group of
Companies, Inc., 765 F. Supp. 411 (N.D. Oh. 1990) with Copper v. Brookshire, 70 F.3d 377 (5th
Cir. 1995) and Fieldwork Boston, Inc. v. United States, 344 F. Supp. 2d 257 (D. Mass. 2004).

                                                24
     4:14-cv-13633-SDD     Doc # 191   Filed 09/29/17   Pg 25 of 26   Pg ID 6020




Huatong could be cancelled each anniversary (March 7th) with three months

notice. (Pl. Ex. 3). Defendant Hossain was an at-will employee without a non-

compete agreement. (Dkt. 186, Pg ID 5149). Thus, even without any malfeasance

by defendants, AF may have lost its supplier of the cables that it sold to WTEC

and planned to sell to Kingwire in March 2015. Accordingly, this Court finds that

lost profits after March 2015 are too speculative to be awarded as damages. See In

re Jonatzke, 478 B.R. 846, 865 (Bankr. E.D. Mich. 2012).

      The Court also awards AF unjust enrichment damages of $150,000.00 from

defendants to compensate for its unrecovered sales costs in soliciting Kingwire as

a customer. This amount encompasses human resource and travel costs incurred

by AF in the approximately two years it spent soliciting sales from Kingwire.

(Dkt. 187, Pg ID 5371-5375). In March 2014, Kingwire was poised to issue a

purchase order to AF when Huatong ceased supplying AF with the power cable

offered to Kingwire. (Id.). Kingwire committed to purchasing from HT the same

product it had committed to purchasing from plaintiff. (Dkt. 187, Pg ID 5484).

Although HT did not consummate a sale to Kingwire before March 2015, the

Court is persuaded that Hossein’s appropriation and use of AF’s confidential trade

secrets enabled HT to unjustly reap the benefits of plaintiff’s extensive sales

efforts in securing the Kingwire business.

      The Court awards plaintiff $17,221.00 from Hossain as reimbursement for

                                         25
     4:14-cv-13633-SDD     Doc # 191   Filed 09/29/17   Pg 26 of 26   Pg ID 6021




salary and compensation plaintiff paid to him while he was both employed by and

competing with AF, from March to May 2014. (Pl. Ex. 66).

      Finally, the Court awards plaintiff $23,059.20 from Hossain pursuant to the

Computer Fraud and Abuse Act, 18 U.S.C. §1030, for loss in the form of the cost

of the forensic investigation relative to his unauthorized conduct in accessing and

copying AF’s computer records.

      Plaintiff must file a brief within 28 days of the entry of judgment in this

matter in which they present proof of their reasonable attorney’s fees and costs

incurred in this action, as permitted under CFAA. The Court reserves jurisdiction

to adjudicate any such claim for reasonable attorney’s fees in post-judgment

proceedings.

      IT IS SO ORDERED.

Date: September 29, 2017                   s/Stephanie Dawkins Davis
                                           Stephanie Dawkins Davis
                                           United States Magistrate Judge

                         CERTIFICATE OF SERVICE

       I certify that on September 29, 2017, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system, which will send
electronic notification to all counsel of record.

                                           s/Tammy Hallwood
                                           Case Manager
                                           (810) 341-7887
                                           tammy_hallwood@mied.uscourts.gov


                                         26
